
OPINION OF THE COURT
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), appeal by respondent Milton Fishkin dismissed, without costs, upon the ground that the order of the Appellate Division, insofar as it pertains to him does not finally determine the proceeding within the meaning of the Constitution; order insofar as appealed from by plaintiff Axelrod et al. affirmed, with costs, for reasons stated in the memorandum at the Appellate Division (104 AD2d 327).
*878Concur: Chief Judge Wachtler and Judges Jasen, Meyer, Simons and Kaye. Taking no part: Judge Alexander.
